
The opinion of the Court is as follows :
“The Court not deeming it necessary to decide the abstract propositions stated in this Case, do decide, that no Mandamus .ought to be awarded, because such a removal, as is stated in the record, is either an abandonment, virtual resignation, or a forfeiture of the office of Justice of the Peace; and whether void or voidable by a- Judicial proceeding, eventuating in a judgment of amotion, no Mandamus ought to issue to invest the applicant with an office not belonging to him, if void, or which might be taken from him, if voidable. Which is ordered to be certified, &amp;c.”
Note (in edition of 1853). — By the Act of the Session of 1821, ch. 26, the removal, with a bona fide intention of changing his residence, is declared to he an absolute vacation of the office.
